Case 1:17-cv-20608-JJO Document 147 Entered on FLSD Docket 03/18/2019 Page 1 of 8




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 17-20608-CIV-JAL

      ARWIN NICOLAS ZAPATA CARRERO and )
      all others similarly situated under 29 U.S.C. )
      § 216(b),                                     )
                                                    )
              Plaintiffs,                           )
                                                    )
          vs.                                       )
                                                    )
      SANABI INVESTMENTS LLC d/b/a                  )
      OSCAR’S MOVING & STORAGE,                     )
      SAADY BIJANI a/k/a SANDY BIJANI,              )
      HANIN PRIETO,                                 )
                                                    )
              Defendants.                           )
                                                    )

                       PLAINTIFF’S REPLY IN SUPPORT OF PLAINTIFF’S
                        MOTION FOR PARTIAL SUMMARY JUDGMENT

             COMES NOW Plaintiff Arwin Nicolas Zapata Carrero (“Plaintiff”), by and through

      undersigned counsel, and files this Reply in Support of Plaintiff’s Motion for Partial Summary

      Judgment, and would respectfully show as follows:

                                               Background

 1.      This is an action that includes claims brought under the Fair Labor Standards Act 29 U.S.C.

         §§201-216 (the “FLSA”) for unpaid overtime wages. (DE 1).

 2.      On January 11, 2019, Plaintiff moved for summary judgment as to the issue of Defendant

         Hanin Prieto’s (“Prieto”) status as Plaintiff’s individual “employer” as a matter of law. (DE

         135).




                                           PAGE 1 OF 8
Case 1:17-cv-20608-JJO Document 147 Entered on FLSD Docket 03/18/2019 Page 2 of 8




 3.      While Defendant Prieto did not originally respond to Plaintiff’s Motion for Partial Summary

         Judgment and that motion was initially granted,1 Defendant Prieto later submitted a sworn

         affidavit which the Court construed as a motion for reconsideration of the order granting

         Plaintiff’s Motion for Summary Judgment.2 See (DE 146).

 4.      The Court’s March 12, 2019 Order Granting Motion for Reconsideration found, in relevant

         part, that Defendant Prieto’s Sworn Affidavit and Reply Affidavit may controvert Plaintiff’s

         Statement of Material Facts and granted the motion for reconsideration, vacating the earlier

         order granting Plaintiff’s Motion for Summary Judgment, and providing Plaintiff with seven

         days to file a reply arguing that Defendant Prieto’s Affidavits fail to establish the existence of

         a genuine issue of material fact. (D.E. 146).

 5.      Plaintiff’s deadline to file a reply is March 19, 2019 and this reply is filed before that

         deadline expires. For the reasons set out below, Prieto’s Affidavits fail to establish the

         existence of a genuine issue of material fact and Plaintiff’s Motion for Partial Summary

         Judgment should be granted.

                                         Argument and Authorities

                                        Summary Judgment Standard

 6.      The general summary judgment standard was previously set out in Plaintiff’s Motion for

         Summary Judgment and in the Court’s vacated Order Granting Plaintiff’s Motion for Partial

         Summary Judgment. (DE 135) and (DE 137), respectively. Of particular importance to the

         current matter is the following:

                    “For issues for which the movant would bear the burden of proof at
                    trial, the party seeking summary judgment “must show


      1) See (D.E. 137).
      2) Prieto’s Sworn Affidavit was filed February 8, 2019 as (D.E. 138) and was later followed by a
      second affidavit referred to as the “Reply Affidavit,” filed on March 1, 2019 as (D.E. 145).


                                             PAGE 2 OF 8
Case 1:17-cv-20608-JJO Document 147 Entered on FLSD Docket 03/18/2019 Page 3 of 8




                 affirmatively the absence of a genuine issue of material fact: it
                 must support its motion with credible evidence ... that would
                 entitle it to a directed verdict if not controverted at trial. In other
                 words, the moving party must show that, on all the essential
                 elements of its case on which it bears the burden of proof at trial,
                 no reasonable jury could find for the non-moving party. If the
                 moving party makes such an affirmative showing, it is entitled to
                 summary judgment unless the non-moving party, in response,
                 come[s] forward with significant, probative evidence
                 demonstrating the existence of a triable issue of fact.’”

      United States v. Rubi, Case No. 14-cv-24814, 2015 WL 12556301, at *1 (11th Cir. 2015)

      (citing and quoting Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1115-16 (11th Cir. 1993)).

      Prieto’s Affidavits Do Not Bring Forward Significant, Probative Evidence Demonstrating
       the Existence of a Triable Issue of Fact As to His Status As Plaintiff’s FLSA Employer

 7.   FLSA employers are “any person acting directly or indirectly in the interest of an employer

      in relation to an employee.” See e.g. Alvarez Perez v. Sanford-Orlando Kennel Club, Inc.,

      515 F.3d 1150, 1160 (11th Cir. 2018) (quoting 29 U.S.C. § 203(d)). In Lamonica v. Safe

      Hurricane Shutters, Inc., the 11th Circuit explored and defined the issue of FLSA employer

      status when dealing with supervisors, noting that the “… primary concern is the supervisor’s

      role in causing the FLSA violation” and “… to support individual liability, there must be

      control over ‘significant aspects of the company’s day-to-day functions, including

      compensation of employees or other matters in relation to an employee.’” See Lamonica v.

      Safe Hurricane Shutters, Inc., 711 F.3d 1299, 1314 (11th Cir. 2013) (quoting Alvarez Perez,

      515 F.3d at 1160)). Also relevant to the analysis is the “economic reality” of the situation,

      including whether Defendant Prieto: 1) had the power to hire and fire employees; 2)

      supervised and controlled employee work schedules or conditions of employment; 3)




                                         PAGE 3 OF 8
Case 1:17-cv-20608-JJO Document 147 Entered on FLSD Docket 03/18/2019 Page 4 of 8




         determined the rate and method of payment; and, 4) maintained employment records. See

         Villareal v. Woodham, 113 F.3d 202, 205 (11th Cir. 1997).3

 8.      Before the Order Granting Plaintiff’s Motion for Summary Judgment was vacated, the Court

         found the following facts relevant to the determination of Plaintiff’s Motion for Summary

         Judgment: 1) the time period that Plaintiff worked for Defendants; 2) that Plaintiff witnessed

         Defendant Saady Bijani (“Bijani”) sign blank checks and then provide them to Defendant

         Prieto; 3) that Prieto filled in wage amounts on checks and distributed the checks to

         employees; 4) that Prieto determined the amount of money to deduct from an employee’s

         wages, if any, for property damaged during a job; 5) that Prieto assigned Plaintiff and other

         movers to specific jobs and trucks; 6) that Prieto regularly called Plaintiff to ask how he was

         doing with clients and then would also talk to clients over the phone; 7) that Prieto would call

         Plaintiff to ask how new employees were doing on the job; 8) that Prieto had the authority to

         fire employees; 9) that Plaintiff actually witnessed Prieto telling an employee that “it was not

         working out” and that the employee was terminated; 10) that Prieto supervised employees;

         11) that Prieto and Bijani conducted weekly meetings with all the employees where Prieto

         would ask about specific employees and discipline employees that did not have good quality

         work that week; and, 12) that Prieto would also make employees’ schedules and assign

         Plaintiff and his co-workers to their respective groups. (D.E. 137 at pp. 2 – 3).

 9.      Defendant Prieto’s Affidavits fail to present significant, probative evidence to bring any of

         these facts into genuine dispute. Whether Prieto’s title was “assistant” or “supervisor” or



      3) The relevant case law is also set out at greater length in Plaintiff’s Motion for Summary
      Judgment and the Court’s now vacated Order Granting Plaintiff’s Motion for Summary
      Judgment. (D.E. 135) and (D.E. 137). The authorities cited herein provide a succinct summary
      of the relevant legal standard considering the potential issue raised by Defendant Prieto’s
      Affidavits as noted by the Court. See (D.E. 146 at p. 10).


                                            PAGE 4 OF 8
Case 1:17-cv-20608-JJO Document 147 Entered on FLSD Docket 03/18/2019 Page 5 of 8




      anything else for that matter is not dispositive, nor is it even a factor to be considered in

      determining his status as Plaintiff’s employer under the FLSA. See e.g. Lamonica, 711 F.3d

      at 1314; Villareal, 113 F.3d at 205. What matters is the economic reality of the situation and

      whether Prieto had control over day-to-day functions of the company Plaintiff worked for.

      Id. While Defendant Prieto’s Reply Affidavit denies that he ever employed or supervised

      anyone, a mere denial of an allegation is insufficient and does not bring forward significant

      probative evidence demonstrating the existence of a triable issue of fact. See (D.E. 145 at p.

      1); see also Fitzpatrick, 2 F.3d at 1115-16; Union Planters Nat. Leasing, Inc. v. Woods, 687

      F.2d 117, 119 (5th Cir. 1982) (citing In re Municipal Bond Reporting Antitrust Litigation,

      672 F.2d 436, 440 (5th Cir. 1982)).

10.   As to Defendant Prieto’s representation that he is willing to present tax returns and bank

      records to prove that he was not paid a supervisor’s salary, the purported tax returns and bank

      records have not been submitted as summary judgment evidence. See generally, (D.E. 135)

      – (D.E. 146). Rule 56(c)(1)(A) requires that a party asserting that a fact is genuinely

      disputed must support its assertion by citing to particular parts of the material in the record.

      See FED. R. CIV. P. 56(c)(1)(A). Defendant Prieto’s purported tax returns and bank records

      are not part of the record and are thus not competent summary judgment evidence capable of

      demonstrating the existence of a triable issue of fact. See e.g. Borden & Associates, Inc. v.

      Markovitz, Case No. 14-cv-81489, 2015 WL 12516640, at *5 (S.D. Fla. July 20, 2015)

      (citing FED. R. CIV. P. 56(c)(1)(A); Celotex Corp. v. Catrett, 477 U.S. 317, 323; 31 (1986));

      see also Local R. 56.1(a)(2) (requiring specific references to pleadings, depositions, answers

      to interrogatories, admissions, and affidavits on file to controvert material facts).




                                          PAGE 5 OF 8
Case 1:17-cv-20608-JJO Document 147 Entered on FLSD Docket 03/18/2019 Page 6 of 8




11.   Even if Defendant Prieto’s purported tax returns and bank records were part of the record, the

      amount earned by an employer is not one of the elements to be considered in determining

      whether Prieto was Plaintiff’s employer under the economic reality of their employment

      relationship. See Lamonica, 711 F.3d at 1314; Villareal, 113 F.3d at 205. Neither is

      ownership of the corporate employer or a position as a corporate officer required for an

      individual to be a joint employer under the FLSA. See Lamonica, 711 F.3d at 1310, 1313

      (noting that personal liability under the FLSA is not limited to officers of companies and that

      ownership interests are relevant to employer analysis only to extent they may show a

      supervisor’s role in causing a violation). Thus, Prieto’s representation that he was not an

      owner of the company is not sufficient on its own to support denying the Motion for Partial

      Summary Judgment. See (D.E. 145 at p. 1).

12.   Prieto also represented that he was never the registered agent for Defendants as a factor to

      consider in regards to the Motion for Partial Summary Judgment. Id. Whether an individual

      was the registered agent of a company is not one of the factors to be considered when

      determining individual employer status under the FLSA and was not part of the basis for

      Plaintiff’s Motion for Partial Summary Judgment. See (D.E. 136); see also supra ¶ 7 (citing

      authorities setting out FLSA individual employer test).

13.   What Prieto’s Affidavits lack is evidence, particularly significant probative evidence, to

      contradict any of the following previously established facts that support a finding that he was

      Plaintiff’s individual employer under the FLSA: 1) that Plaintiff witnessed Defendant Bijani

      sign blank checks and then provide them to Defendant Prieto; 2) that Prieto filled in wage

      amounts on checks and distributed the checks to employees; 3) that Prieto determined the

      amount of money to deduct from an employee’s wages, if any, for property damaged during




                                         PAGE 6 OF 8
Case 1:17-cv-20608-JJO Document 147 Entered on FLSD Docket 03/18/2019 Page 7 of 8




         a job; 4) that Prieto assigned Plaintiff and other movers to specific jobs and trucks; 5) that

         Prieto regularly called Plaintiff to ask how he was doing with clients and then would also talk

         to clients over the phone; 6) that Prieto would call Plaintiff to ask how new employees were

         doing on the job; 7) that Prieto had the authority to fire employees; 8) that Plaintiff actually

         witnessed Prieto telling an employee that “it was not working out” and that the employee was

         terminated; 9) that Prieto supervised employees; 10) that Prieto and Bijani conducted weekly

         meetings with all the employees where Prieto would ask about specific employees and

         discipline employees that did not have good quality work that week; and, 11) that Prieto

         would also make employees’ schedules and assign Plaintiff and his co-workers to their

         respective groups. See (D.E. 138); (D.E. 145) and compare (D.E. 136 at ¶¶ 2 – 13); (D.E.

         137 at pp. 2 – 3) (identifying facts established by Plaintiff’s Statement of Material Fact and

         supported by evidence in the record).

14.      Taking all of the above into consideration, even with the submission of Defendant Prieto’s

         Affidavits, Defendant Prieto has failed to submit significant probative evidence

         demonstrating the existence of a triable issue of fact regarding his status as Plaintiff’s

         individual employer and Plaintiff’s Motion for Partial Summary Judgment should be granted

         on the same grounds as it was originally granted before the filing of Prieto’s Affidavits.

         WHEREFORE, Plaintiff respectfully requests that the Court grant Plaintiff’s Motion for

      Partial Summary Judgment and find that Defendant Hanin Prieto was Plaintiff’s individual

      employer as a matter of law, and grant Plaintiff any such other relief as justice so requires.




                                              PAGE 7 OF 8
Case 1:17-cv-20608-JJO Document 147 Entered on FLSD Docket 03/18/2019 Page 8 of 8




                               Respectfully submitted,

                         NATALIE STAROSCHAK, ESQ.
                                J.H. ZIDELL, P.A.
                          ATTORNEY FOR PLAINTIFF
                             300 71ST STREET, #605
                            MIAMI BEACH, FL 33141
                                 PH: 305-865-6766
                               FAX: 305-865-7167
                     EMAIL: NSTAR.ZIDELLPA@GMAIL.COM
                                  F.B.N. 116745

                    BY:___/s/___Natalie Staroschak______________
                          NATALIE STAROSCHAK, ESQ.

                           CERTIFICATE OF SERVICE

   I HEREBY CERTIFY THAT A TRUE AND CORRECT COPY OF THE FOREGOING
         WAS PROVIDED VIA CM/ECF AND VIA U.S. MAIL ON 3/18/19 TO:

                           ALL CM/ECF REGISTRANTS

                                  HANIN PRIETO
                                     PRO SE
                            11431 NW 107 ST., SUITE #13
                                  MIAMI, FL 33178

                    BY:___/s/___Natalie Staroschak______________
                          NATALIE STAROSCHAK, ESQ.




                                 PAGE 8 OF 8
